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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ROADGET BUSINESS PTE. LTD., a private limited
 company organized in the country of Singapore,

                        Plaintiff,
                                                             Case No.: 1:24-cv-02015
        v.

                                                             Judge: Hon. Sharon J. Coleman
 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE
 A TO THE COMPLAINT,

                        Defendants.



  PLAINTIFF’S MOTION FOR ENTRY OF FINAL JUDGMENT AND RELEASE OF
                           SURETY BOND

       Plaintiff Roadget Business Pte. Ltd. (“Roadget”) respectfully moves for entry of final

judgment in this action pursuant to Fed. R. Civ. P. 58(d) in the form of the proposed order

attached hereto as Exhibit 1. In support of its request, Roadget states as follows:

        1.     Roadget filed this action against the six Defendants listed on Schedule A to the

Complaint on March 8, 2024. Dkt. 1.

        2.     This Court dismissed all Defendants in this suit, the last of which was Defendant

No. 4, Yiwushi Chuyu E-commerce Co. Ltd. d/b/a VIGOCASEY PLUS, dismissed on

September 25, 2024. The dismissal of Defendant No. 4 ends this action.

        3.     Pursuant to Fed. R. Civ. P. 58(d), Roadget respectfully requests entry of an order

of final judgment in the form of the proposed order attached hereto as Exhibit 1.

        4.     Roadget also requests the release of the surety bond submitted to the Court


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pursuant to its Temporary Restraining Order (Dkt. 24).



Dated: October 14, 2024                       Respectfully submitted,

                                              /s/ Steven J. Horowitz
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                                              Matthew D. Binder
                                              Deepa A. Chari
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